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MAY 08 2019

IN THE UNITED STATES DISTRICT COURT Mark C. McCartt, Clerk
FOR THE NORTHERN DISTRICT OF OKLAHOMA’ STRICT COURT

Case No. il 9 CR & 8 ED

UNITED STATES OF AMERICA,

INDICTMENT

[COUNT 1: 21 U.S.C. §§ 841(a)(1) and
841(b)(1)(A)(viii) — Possession of
Methamphetamine With Intent to
Distribute;

COUNT 2: 18 U.S.C. § 924(c)(1)(A)(@) -
Possession of a Firearm in Furtherance
of a Drug Trafficking Crime;

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Plaintiff, )
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) COUNT 3: 21 U.S.C. §§ 841(a)(1) and
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Vv.
SEBASTIAN COBELO,

Defendant.

841(b)(1)(B)(viii) — Possession of
Methamphetamine With Intent to
Distribute;

COUNT 4: 18 U.S.C. § 924(c)(1)(A)(D —
Possession of Firearms in Furtherance
of a Drug Trafficking Crime;
Forfeiture Allegation: 21 U.S.C.

§ 853(a), 18 U.S.C. § 924(d) and 28
U.S.C. § 2461(c) - Drug and Firearm
Forfeiture]

THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii)]

On or about October 22, 2018, in the Northern District of Oklahoma, the defendant,
SEBASTIAN COBELO, did knowingly and intentionally possess with intent to distribute
500 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A) (viii).
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COUNT TWO
[18 U.S.C. § 924(c)(I(A)(D)

On or about October 22, 2018, in the Northern District of Oklahoma, the defendant,
SEBASTIAN COBELO, did knowingly possess a firearm in furtherance of a drug
trafficking crime for which he may be prosecuted in a court of the United States, that is,
Possession of Methamphetamine With Intent to Distribute, a violation of Title 21, United
States Code, Section 841(a)(1).

All in violation of Title 18, United States Code, Section 924(c)(1){A)(i).
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COUNT THREE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii)]

On or about October 14, 2018, in the Northern District of Oklahoma, the defendant,
SEBASTIAN COBELO, did knowingly and intentionally possess with intent to distribute
50 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B){viii).
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COUNT FOUR
[18 U.S.C. § 924(c)(1)(A)(D]

On or about October 14, 2018, in the Northern District of Oklahoma, the defendant,
SEBASTIAN COBELO, did knowingly possess firearms in furtherance of a drug
trafficking crime for which he may be prosecuted in a court of the United States, that is,
Possession of Methamphetamine With Intent to Distribute, a violation of Title 21, United
States Code, Section 841(a)(1).

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
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DRUG AND FIREARM FORFEITURE ALLEGATION
[21 U.S.C. § 853(a), 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c)]

The allegations contained in this Indictment are hereby realleged and incorporated
by reference for the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853(a); Title 18, United States Code, Section 924(d); and Title 28, United States
Code, Section 2461(c).

Upon conviction of any of the drug and firearm offenses alleged in Counts One
through Four of this Indictment, as part of his sentence, the defendant, SEBASTIAN
COBELO, shall forfeit to the United States the firearm, ammunition and currency involved
in or used in the knowing commission of such drug and firearm offenses, and any property
constituting, or derived from, proceeds obtained, directly or indirectly, as the result of such
drug and firearm offenses and any property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of such drug and firearm offenses,
including, but not limited to:

FIREARMS AND AMMUNITION

1. Smith and Wesson, Model M&P Shield, .40 caliber semi-automatic pistol,
serial number HUE4577;

2. Zastava, Model PAP M70, 7.62mmx39 caliber semi-automatic rifle, with
magazine, serial number ZAP AP007253;

3. Glock, Model 23Gen4, .40 caliber semi-automatic pistol, serial number
XPMS581;

4. DPMS, Model AR 15, .223-5.56mm caliber semi-automatic rifle, serial
number FH209338; and

5. Approximately 194 miscellaneous rounds of ammunition.
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CURRENCY

l. $4,578.53 in United States currency, seized from Defendant Cobelo on
October 14, 2018: and

$3062.00 in United States currency, seized from Defendant Cobelo on
October 22, 2018.

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All pursuant to Title 21, United States Code, Section 853(a); Title 18, United States
Code, Section 924(d); and Title 28, United States Code, Section 2461(c).

R. TRENT SHORES A TRUE BILL
UNITED STATES ATTORNEY

If fh. /s/ Grand Jury Foreperson

MARK &. MORGAN Grand Jury Foreperson
Assistant United States Attorney

